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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND


 DAVID SYDNEY, et al., Individually and on
 Behalf of All Others Similarly Situated,

                              Plaintiffs,             Case No. 8:22-cv-1142-GLR

           v.

 CEDAR REALTY TRUST, INC., et al.,

                              Defendants.

                              RESPONSE TO STANDING ORDER 2021-13

         Defendants, Wheeler Real Estate Investment Trust, Inc., Cedar Realty Trust, Inc., Cedar

Realty Trust Partnership, L.P., and Bruce J. Schanzer, Gregg A. Gonsalves, Abe Eisenstat, Steven

G. Rogers, Sabrina Kanner, Darcy D. Morris, Richard H. Ross, and Sharon Stern, by their

respective undersigned counsel, respond to the Court’s Standing Order 2021-13 and state as

follows:

         1.        All Defendants were served on May 2, 2022.

         2.        This action was removed under the Class Action Fairness Act, 28 U.S.C. §

1332(d), which requires only minimal diversity, rather than under 28 U.S.C. 1332(a), which

requires complete diversity, so Paragraph 2 is inapplicable.

         3.        Defendants removed this action less than 30 days after they were served.

         4.        Defendants removed this action less than one year after it was commenced.

         5.        All Defendants formally joined the notice of removal.




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